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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                   STATESBORO DIVISION



 ANTONIO LEON MOSES,

                 Plaintiff,                                 CIVIL ACTION NO.: 6:20-cv-117


          V.



 WARDEN BRIAN ADAMS,

                 Defendant.



                                            ORDER


         Presently before the Court are Plaintiffs Objections to the Magistrate Judge's Report and

Recommendation dated December 21, 2020. Doc. 7. The Magistrate Judge identified Plaintiff as

a "three-striker" and, as such, he cannot proceed informa pauperis unless he meets the "imminent

danger of serious physical injury" exception of 28 U.S.C. § 1915(g). Id at 3. The Magistrate

Judge then analyzed Plaintiffs Complaint and determined his allegations were insufficient to meet

the imminent danger exception, as Plaintiffs allegations were vague, conclusory, and potentially

fanciful or delusional. Jd at 4-5. Thus, the Magistrate Judge recommend the Court dismiss

Plaintiffs Complaint without prejudice and deny Plaintiff leave to proceed informa pauperis. Id

at 7.


         In his Objections, Plaintiff does not dispute he is a three-striker. However, he appears to

argue the allegations in his Complaint meet the imminent danger exception. Doc. 10 at 1.

Plaintiffs Objections are limited to reiterating the allegations in his Complaint and provide the

Court with no new facts or arguments. Id While Plaintiff again states he does in fact fear for his
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life, these conclusory and vague statements, as the Magistrate Judge explained, are not enough to

meet the imminent danger exception. Thus, Plaintiffs Objections are without merit.

       After an independent and de novo review of the entire record, the Court OVERRULES

Plaintiffs Objections. Doc. 10. The Court CONCURS with the Magistrate Judge's Report and

Recommendation and ADOPTS the Magistrate Judge's Report and Recommendation as the

opinion of the Court. Thus, the Court DISMISSES without prejudice Plaintiffs Complaint,

DIRECTS the Clerk of Court to CLOSE this case and enter the appropriate judgment ofdismissal,

and DENIES Plaintiff leave to proceed in formapauperis on appeal. I DENY as moot Plaintiffs

Motion to Appoint Counsel. Doc. 8.

       SO ORDERED,this               day of January, 2021.




                                     PIONORA&LE J. RANDAL HALL
                                     UNITEDySTATES DISTRICT JUDGE
                                            lERN DISTRICT OF GEORGIA
